Case 9:14-cv-81511-RLR Document 47-2 Entered on FLSD Docket 01/13/2016 Page 1 of 11

EXHIBIT A
SETTLEMENT AND RELEASE AGREEMENT

THIS SETTLEMENT AND RELEASE AGREEMENT (the “Agreement”) is made this __
LT aay of January 2016 (“Effective Date”) between Hermite C. Joseph, Marie E.
Laguerre, and Valerine Barthelemy (“Plaintiffs”) on the one hand and FIZA Investments,
Inc. and Patricia S. Rengasawmy (collectively, the “Defendants”) on the other hand.
Plaintiffs and Defendants shall be collectively referred to as the “Parties.”

WHEREAS, Plaintiffs, former employees of FIZA Investments, Inc., filed a lawsuit
against Defendants on December 03, 2014 styled, Hermite C. Joseph and Marie E. Laguerre,
et al. v. FIZA Investments, Inc, a Florida Profit Corporation, and Patricia S. Rengasawmy,
Case No. 14-81511-CIV-ROSENBERG/BRANNON, pending in the Southern District of
Florida (the “Lawsuit”); and

WHEREAS, Plaintiffs may have or make other claims, causes of action, rights,
charges, grievances, demands or suits in law or equity against Defendants or related
persons or entities; and

WHEREAS, Defendants have denied the validity any and all liability for any claims
or causes of action which Plaintiffs may have or claim; and

WHEREAS, the Parties hereto desire to settle all claims, disputes, charges, and
causes of action that exist or may exist in the Lawsuit in order to avoid the cost and
distraction of litigation;

NOW, THEREFORE, in exchange for good and valuable consideration, the

sufficiency of which is hereby acknowledged, the Parties hereto agree as follows:
Case 9:14-cv-81511-RLR Document 47-2 Entered on FLSD Docket 01/13/2016 Page 2 of 11

COVENANTS
1. Payment. Defendants shall pay Plaintiffs collectively the sum of Twenty-Five
Thousand Dollars and No Cents ($25,000.00) (the “Payment”), which Plaintiffs agree to
accept in full payment of all damages, attorneys’ fees, costs, expenses and interest sought in
the Lawsuit and which constitutes complete payment and satisfaction of all monies to
which Plaintiffs claim or may claim to be entitled from Defendants. The Payment will be
allocated as follows:

a) No less than thirty (30) days following Hermite C. Joseph’s execution
and delivery of this Agreement, Defendants shall provide Hermite C. Joseph a check for
Four Thousand Eight Hundred Forty-Five Dollars and Zero Cents ($4,845.00). Defendants
will not withhold any sums for taxes and Defendants will issue a Form 1099 to Hermite C.

Joseph for the check amount.

b) No less than thirty (30) days following Valerine Barthelemy’s
execution and delivery of this Agreement, Defendants shall provide Valerine Barthelemy a
check for Six Thousand One Hundred Seventy Dollars and Zero Cents ($6,170.00).
Defendants will not withhold any sums for taxes and Defendants will issue a Form 1099 to

Valerine Barthelemy for the check amount.

c) No less than thirty (30) days following Marie E. Laguerre’s execution
and delivery of this Agreement, Defendants shall provide Marie E. Laguerre a check for One
Thousand Five Hundred Dollars and Zero Cents ($1,500.00). Defendants will not withhold
any sums for taxes and Defendants will issue a Form 1099 to Marie E. Laguerre for the

check amount.
Case 9:14-cv-81511-RLR Document 47-2 Entered on FLSD Docket 01/13/2016 Page 3 of 11

d) No less than sixty (60) days following Plaintiffs’ execution and delivery of
this Agreement, Defendants will pay Plaintiffs’ attorneys the sum of Twelve Thousand Four
Hundred Ejighty-Five Dollars and Zero Cents ($12,485.00) for attorneys’ fees, costs, and
expenses. The check for said amount shall be made payable to Law Office of Dieudonne Cadet,
P.A. Operating Account. EIN number: XX-XXXXXXX. Defendants will issue a Form 1099 to Law

Office of Dieudonne Cadet, P.A.

2. Warranties and Representations. Plaintiffs hereby warrant and represent

that the Payment represents full payment of all amounts due and owing to them under the
Fair Labor Standards Act.

3. Dismissal of Lawsuit. Plaintiffs agree to the dismissal with prejudice of their
claim in the Lawsuit, and otherwise agree to do anything necessary to effect the dismissal
of such claim, including filing a Stipulation for Dismissal with Prejudice. Plaintiffs agree to
the filing of the Stipulation for Dismissal with Prejudice immediately upon Defendants’
execution of this Agreement.

4. Tax Liability Indemnification. Plaintiffs hereby acknowledge that
Defendants have not made any representations concerning the taxability of the Payment, or
any portion thereof. In the event that any governmental agency determines that any
additional taxes are due and owing with respect to any of the Payment, Plaintiffs agree to
hold Defendants harmless for any such additional taxes under this Agreement. Plaintiffs
also agree to indemnify and hold Defendants harmless from and against any additional
amounts determined by any governmental agency to be owing from Defendants by any
reason of Defendants’ failure to withhold and remit any additional taxes from the Payment,

including but not limited to income taxes, FICA or Medicare contributions. This
Case 9:14-cv-81511-RLR Document 47-2 Entered on FLSD Docket 01/13/2016 Page 4 of 11

indemnification shall also apply to any penalty, interest or other sums, including attorneys’
fees, Defendants shall owe as a result of their failure to withhold or remit taxes which are
ordinarily to be withheld from wages of, or paid by, Plaintiffs.

5. E to Bear Own Costs and Fees. Each party hereto shall bear his or
their own costs, litigation expenses, and attorneys’ fees. Plaintiffs otherwise agree not to
file any petition or motion seeking a further award of fees, costs or expenses.

6. Waiver of Re-employment. Plaintiffs shall not reapply for employment
with Defendants or its affiliated or related entities and any of its affiliated or related
entities and, should such application be filed, Defendants are free to reject and disregard it.
If Plaintiffs are inadvertently offered or given employment, Fiza Investments, Inc. or its
affiliated or related entities may rescind such offer or terminate such employment at any
time without cause or recourse. Plaintiffs hereby waive any claims based upon any of the
actions described in this paragraph.

7. Release to Defendants. In exchange for, and in consideration of the
foregoing, Plaintiffs, of their own free will and on behalf of their representatives, heirs,
executors, administrators, agents, successors, assigns, and attorneys, hereby knowingly
and voluntarily releases and forever discharges Defendants, their predecessors,
successors, affiliated or related entities, joint ventures, employee benefit funds and plans,
as well as all owners, directors, officers, shareholders members, employees, agents,
insurers, and attorneys of the foregoing entities, from any and all actions, causes of action,
claims, liabilities, charges, complaints, promises, demands, contracts, lawsuits, claims for
wages or fringe benefits, liquidated damages, economic damages, damages for pain,

suffering, mental distress or any other compensatory damages, punitive damages,
Case 9:14-cv-81511-RLR Document 47-2 Entered on FLSD Docket 01/13/2016 Page 5 of 11

consequential losses or damages, equitable relief, costs, expenses, attorneys’ fees, expert
witness fees, interest and penalties of any kind and every nature whatsoever, known or
unknown, which Plaintiffs have or may have against Defendants from the beginning of the
world to the date when Plaintiffs signs this Agreement. This general release includes, but is
not limited to, any claims for wages, bonuses, severance pay, vacation pay, any tort claims,
any defamation claims, any negligence claims, any other common law claims, any claims for
breach of contract, any claims for alleged violation of the National Labor Relations Act, any
claims under Title VII of the Civil Rights Act of 1964, as amended, the Civil Rights Act of
1991; the Civil Rights Act of 1866 (42 U.S.C. §§ 1981, 1981(a), 1983, 1985, 1986, and
1988), the Americans With Disabilities Act (“ADA”), the Age Discrimination in Employment
Act (“ADEA”), the Older Workers Benefit Protection Act (“OWBPA’), the Florida Civil Rights
Act (“FCRA"), the Family and Medical Leave Act (“FMLA”), the Employee Retirement
Income Security Act of 1974, the Equal Pay Act (“EPA”), any claims under the “coercion of
employees” portion of Florida’s workers’ compensation statute, Section 440.205, Florida
Statutes, of any claims under the Florida Whistleblower Act of 1981, Section 448.101 et
seq., Florida Statutes, any collective bargaining agreements, any provisions of Chapters 440,
443, and 447, Florida Statutes, the Florida Omnibus AIDS Act, Section 760.50, Florida
Statutes, the False Claims Act; the Lilly Ledbetter Fair Pay Act of 2009; the Florida
Minimum Wage Act, Article X, section 24 of the Florida Constitution; the Immigration
Reform and Control Act, as amended; the Workers Adjustment and Retraining Notification
Act, as amended; the Occupational Safety and Health Act, as amended; the Sarbanes-Oxley
Act of 2002; the Consolidated Omnibus Budget Reconciliation Act (COBRA); the Fair Labor

Standards Act (“FLSA”); and any other federal, state, or local law, statute, regulation,
Case 9:14-cv-81511-RLR Document 47-2 Entered on FLSD Docket 01/13/2016 Page 6 of 11

ordinance or common law theory as well as all claims arising under federal, state, or local
law involving any tort, employment contract (express or implied), public policy, wrongful
discharge, or any other claim.

8. Exception to Release to Defendants. Notwithstanding paragraph 7 above,
Plaintiffs, Valerine Barthelemy and Marie Eunide Laguerre, shall not compromise, waive,
prejudice or release any claims related to their Employment Charge of Discrimination filed
with the Florida Commission on Human Relations, including but not limited to any claims
under Title VII of the Civil Rights Act of 1964, as amended, the Civil Rights Act of 1991; the
Civil Rights Act of 1866 (42 U.S.C. §§ 1981, 1981(a), 1983, 1985, 1986, and 1988), the

Americans With Disabilities Act (“ADA”), and, the Florida Civil Rights Act (“FCRA’).

9, Release to Plaintiffs. Fiza Investments, Inc. and Defendants in and for
consideration of this Agreement and the mutual promises set forth herein, and for other
good and valuable consideration received from or on behalf of Plaintiffs, receipt whereof is
hereby acknowledged, release and forever discharge Plaintiffs and their respective heirs,
executors, administrators, successors, and assigns, from all actions, causes of action, debts,
sums of money, accounts, covenants, contracts, agreements, promises, damages, judgments,
claims, and demands whatsoever, whether known or unknown, either in law or equity,
whether statutory or common law, whether federal, state, local, or otherwise, including, but
not limited to, any claims related to, or arising out of any aspect of Plaintiffs’ relationship
with Defendants, any agreement concerning such relationship, or the termination of such
relationship, which, against Plaintiffs, Defendants’ successors and assigns ever had, now
have or hereafter can, will, or may have, by reason of any matter or cause whatsoever, from

the beginning of the world to the date Defendants execute this Agreement.
Case 9:14-cv-81511-RLR Document 47-2 Entered on FLSD Docket 01/13/2016 Page 7 of 11

10. Employment Reference, To the extent any prospective employer contact

Defendants seeking an employment reference regarding Plaintiffs, Defendants agree to
provide neutral information only, consisting only of Plaintiffs’ last job title, last salary and

dates of employment.

11. No Admission of Liability. The Parties have entered into this Agreement in
order to avoid the substantial costs, risks, uncertainties, and inconvenience of litigation. It
is further understood that Defendants deny that they have acted wrongfully or unlawfully
towards Plaintiffs and they maintain that execution of this Agreement does not constitute
an admission by Defendants that they have violated any common law principle, any law,
statute, rule, regulation or ordinance of the United States, the State of Florida, or any county
or municipality, or any contractual obligation, or that Defendants have breached any of
their policies or practices, or that Plaintiffs claims are meritorious.

12. NoAssignment, Plaintiffs hereby warrants that they have not assigned, sold,
subrogated, transferred, conveyed or pledged as security to anyone any actions, causes of
action, claims or demands that they now have or ever had against Defendants, and they
hereby agree to defend entirely at their own expense and to fully indemnify and forever
hold Defendants harmless from and against any and all actions, causes of action, claims or
demands that may be brought against Defendants, by anyone to whom Plaintiffs have
assigned, sold, subrogated, transferred, conveyed or pledged as security any such actions,
causes of action, claims or demands, whether such are asserted by third-party complaint,
cross-claim claim or otherwise, or whether such are asserted for indemnity, contribution or

otherwise.
Case 9:14-cv-81511-RLR Document 47-2 Entered on FLSD Docket 01/13/2016 Page 8 of 11

13. Entire Agreement. Plaintiffs confirm that the only consideration for their
execution of this Agreement is that which is stated herein, and that there are no promises
or agreements of any other kind other than as stated herein which have caused him to
execute this Agreement; that they have not relied on statements or representations by
Defendants or Defendants’ agents or representatives concerning the matters addressed in
this Agreement; that he fully understands the meaning and intent of this Agreement,
including but not limited to its final and binding effect. The Parties hereto agree that this
Agreement constitutes the entire Agreement between Plaintiffs, on the one hand, and
Defendants on the other hand; and that there exist no other agreements, oral or written,
between or among them relating to any matters covered by this Agreement. It is further
agreed that this Agreement supersedes any and all prior or contemporaneous agreements,
written or verbal, or any other understandings that may have existed or exist between the
Parties, and related to the same subject matter described herein.

14. Representations. Plaintiffs hereby represent and agree to all of the
following:

(a) In the absence of this Agreement, Plaintiffs would not be entitled to
the consideration set forth in this Agreement and the consideration herein is greater than
any amount to which they would otherwise be entitled.

(b) Plaintiffs have carefully read this Agreement, including its release.

(c) Plaintiffs are freely, voluntarily and knowingly releasing Defendants,
in accordance with the terms contained in this Agreement.

(d) The period of time to consider Plaintiffs’ rights and obligations under

this Agreement was reasonable.
Case 9:14-cv-81511-RLR Document 47-2 Entered on FLSD Docket 01/13/2016 Page 9 of 11

(e) It is recommended that Plaintiffs review this Agreement with an
attorney prior to executing this Agreement, and Plaintiffs have consulted with counsel
regarding the meaning of this Agreement.

) This Agreement does not waive any rights or claims Plaintiffs may
have arising after the date on which Plaintiffs sign this Agreement.

15. Governing Law. This Agreement and all terms thereof shall be construed
and governed according to the laws of Florida. The Parties consent to the jurisdiction and
venue of the Circuit Court of the Fifteenth Judicial Circuit in and for Palm Beach County,
Florida or the Southern District of Florida, West Palm Beach Division in connection with
any claim or controversy arising out of, or connected with, this Agreement. Any action
arising out of, or connected with, this Agreement shall be brought exclusively in Palm
Beach County, Florida.

16. Evidence. Evidence of this Agreement is not admissible except in a
proceeding to determine costs.

17. i f Te Provision Condition. The waiver by any party of a
breach of any provision of this Agreement by any other party shall not operate or be
construed as a waiver of any subsequent breach of that or any other provision by said
party.

18. Binding Effect. The rights and obligations of Plaintiffs and Defendants
under this Agreement shall inure to the benefit of and shall be binding upon their
respective successors and assigns, and Plaintiffs and Defendants consent to enforcement of

any covenants herein by any such successor or assign.
‘Case 9:14-cv-81511-RLR Document 47-2 Entered on FLSD Docket 01/13/2016 Page 10 of 11

19. Actions Constituting Breach. In any action brought to enforce this
Agreement or an alleged breach of this Agreement, the prevailing party shall be entitled to

recover reasonable attorneys’ fees and costs.

20. Modifications, This Agreement may not be altered, amended, modified, or
terminated except by an instrument in writing, executed by the Parties hereto or their
authorized representatives.

21. Severability. The Parties agree that if any provision in this Agreement is
held to be invalid, illegal or unenforceable, either legislatively or judicially, such provision
will be severed herefrom, and the remainder of this Agreement will continue to be valid
and enforceable unless such determination of invalidity shall deprive either party of the
substantial benefit of its bargain. The Parties agree, however, that any determination by
any federal, state or local authority regarding treatment of the terms or consideration of
this Agreement under any laws regarding taxation shall not constitute an event depriving
either party of the substantial benefit of its bargain.

22, Construction. The terms in this Agreement are the product of arms-length
negotiations, and they shall not be construed against any of the Parties.

23. Headings. The headings contained in this Agreement are for convenience
only, and they shall have no significance to the meaning of the Agreement.

24. Counterparts. This Agreement may be executed by the Parties in separate
counterparts, each of which shall be deemed to constitute an original.

25. Informed Agreement. Each party hereto represents and agrees that he or

they has/have carefully read and fully understands all of the provisions of this Agreement,

10
Case 9:14-cv-81511-RLR Document 47-2 Entered on FLSD Docket 01/13/2016 Page 11 of 11

including the release and waiver of claims, and that he or they is/are knowingly and
voluntarily entering into this Agreement.

THE UNDERSIGNED HAVE CAREFULLY READ THIS AGREEMENT, UNDERSTAND
THE CONTENTS THEREOF, AND EXECUTED IT AS THEIR FREE ACT AND DEED.

IN WITNESS WHEREOF, the Parties hereto set their hands and seals.

 

 

 

By: “Uy
HERMITE C. JOSEPH ‘
Date: hi h fro £ & Its: _

\
By: Malle 644feee pyre
MARIE E. LAGUERRE

Date: {-/2- LG

 

PATRICIA S. RENGASAWMY

By: lun br, Heekorn Date:

VALERINE BARTHELEMY
Date: _/- U[- 20°f6

 

i]
